              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 Daran Cohn                                   :
                                              :
                              Plaintiff       :
                                              :
         v.                                   :
                                              : Civil Action No. 2:19-cv-02857-GEKP
 The Pennsylvania State University            :
                                              :
                              Defendant       :
                                              :
                                              :

  ___________________________________________________________________________

 DEFENDANT, THE PENNSYLVANIA STATE UNIVERSITY’S MEMORANDUM OF
 LAW IN REPLY TO PLAINTIFF, DARAN COHN’S OPPOSITION TO THE MOTION
    TO DISMISS THE AMENDED COMPLAINT PURSUANT TO RULE 12(b)(6)
 ___________________________________________________________________________




                                                     WHITE AND WILLIAMS LLP
                                                     Geoffrey F. Sasso (ID: 202936)
                                                     1650 Market Street
                                                     One Liberty Place, Suite 1800
                                                     Philadelphia, PA 19103-7395
                                                     Phone: 215-864-6245/6000
                                                     sassog@whiteandwilliams.com
                                                     Attorneys for Defendant, The
                                                     Pennsylvania State University



23952182v.1
               Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 2 of 9




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT ....................................................................................................1
ARGUMENT ...................................................................................................................................1
I.        There Is No Legal or Factual Basis to Estop Penn State From Asserting the
          Statute of Limitations ...........................................................................................................1
II.       Plaintiff Makes No Response to Penn State’s Arguments Regarding Counts I-III,
          V, and VII of the Amended Complaint ................................................................................3
III.      Plaintiff Has Not and Cannot Allege the Existence of an Implied Contract in the
          Form of the PA Program Handbook ....................................................................................4
IV.       Plaintiff Concedes that the Amended Complaint Fails to State Claims for Punitive
          Damages, Equitable Damages, Specific Performance, Declaratory Judgment, and
          Declaratory Relief ................................................................................................................5
CONCLUSION ................................................................................................................................5




                                                                    -i-
23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 3 of 9




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)
CASES

Arango v. Winstead,
   352 Fed. Appx. 664 (3d Cir. 2009) ............................................................................................5

Atlas Corp. v. United States,
    895 F.2d 745 (Fed. Cir. 1990)....................................................................................................4

Bradshaw v. The Pennsylvania State University,
   2011 U.S. Dist. LEXIS 36988 (E.D. Pa. 2011) .........................................................................4

Cada v. Baxter Healthcare Corp.,
   920 F.2d 446 (7th Cir. 1990) .....................................................................................................1

Carroll v. Millersville,
   2019 U.S. Dist. LEXIS 96089 (E.D. Pa. June 6, 2019) .............................................................4

Cerbone v. International Ladies' Garment Workers' Union,
   768 F.2d 45 (2d Cir. 1985).........................................................................................................1

Copenhaven v. Borough of Bernville,
   2003 U.S. Dist. LEXIS 1315 (E.D. Pa. January 9, 2003) ..........................................................3

In the Matter of Penn Central Transportation Company,
    831 F.2d 1221 (3d Cir. 1987).....................................................................................................4

Miller v. Cadmus Communs.,
   2010 U.S. Dist. LEXIS 19283 (E.D. Pa. 2010) .........................................................................3

Oshiver v. Levin, Fishbein, Sedran & Berman,
   38 F.3d 1380 (3d Cir. 1994).......................................................................................................1

Rorrer v. Cleveland Steel Container Corp.,
   2012 U.S. Dist. LEXIS 5455 (E.D. Pa. 2012) ...........................................................................3

Wright v. O'Hara,
   2002 U.S. Dist. LEXIS 15327 (E.D. Pa. August 14, 2002) .......................................................5




                                                                 -ii-
23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 4 of 9




                                      PRELIMINARY STATEMENT

         The only issue before this Court is whether Plaintiff’s Amended Complaint states valid

causes of action. Plaintiff offers no argument or legal authority on this issue and, instead, seeks to

estop Penn State from defending itself due to alleged errors made by Plaintiff’s prior counsel.

There is no merit to Plaintiff’s position or her bald claim that she “believes she has alleged

sufficient facts to constitute valid causes of action.” Because Plaintiff can never recover on the

challenged causes of action or recover the challenged forms of damages, Penn State again requests

that its Motion to Dismiss be granted in its entirety.1

         Penn State respectfully requests oral argument.

                                                  ARGUMENT

I.       THERE IS NO LEGAL OR FACTUAL BASIS TO ESTOP PENN STATE FROM ASSERTING THE
         STATUTE OF LIMITATIONS

         Plaintiff seeks to equitably estop Penn State from asserting the statute of limitations. Under

Pennsylvania law, equitable estoppel may bar a defendant’s use of the statute of limitations if a

plaintiff is aware of the existence of a claim but a defendant has either: (i) misrepresented the

length of the limitations period or (ii) lulled the plaintiff into believing litigation is not necessary.

Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1389-1390 (3d Cir. 1994), citing

Cada v. Baxter Healthcare Corp., 920 F.2d 446 (7th Cir. 1990), citing Cerbone v. International

Ladies' Garment Workers' Union, 768 F.2d 45 (2d Cir. 1985). Here, neither the Amended

Complaint (which is the operative document) nor Plaintiff’s opposition provide any support for a

claim of equitable estoppel.




1
 While Penn State recognizes that reply briefs are generally disfavored, it files this short reply primarily to address
Plaintiff’s new arguments of estoppel and implied contract.


23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 5 of 9




         At no time does Plaintiff allege that Penn State misrepresented the applicable limitations

period. Rather, Plaintiff alleges that her prior counsel misled her because he miscalculated the

applicable statute of limitations.2 See Plf. Opp. at ¶¶ 103-104. Quite obviously, an omission by

another individual - particularly Plaintiff’s agent - is not attributable to Penn State and cannot be

used to estop Penn State use of a defense.

         Plaintiff also vaguely alleges that: “[t]hrough Ms. Cohn’s legal counsel, Penn State

represented that Ms. Cohn could still earn her degree with the completion of ‘a few outstanding

requirements…’” before incorporating her September 2019 filing outlining her prior counsel’s

alleged omissions. See Plf Opp at ¶¶ 100-102. However, Plaintiff’s September 2019 filing belies

any claim that this alleged, vague statement by Penn State – which Penn State denies making –

can be used to estop Penn State:

                     I asked Kershenbaum to find out about whether I would be able to
                     obtain my degree, and why/why not. In the end, he never followed
                     through with obtaining an actual, direct answer to this question.
                     For example, the answer I received was that there were still
                     “outstanding requirements.” The facts of my case – i.e., that I had
                     completed all courses toward my degree at the time of my dismissal
                     from the school – demonstrate that there were not outstanding
                     requirements. I asked Kershenbaum repeatedly to follow this up,
                     but I did not receive an answer.

2
 Plaintiff’s opposition brief refers to her September 2019 submission that outlines alleged errors made by her prior
counsel and reads as such:

                     Statute of limitations, what mine were, or how they applied in my case were never
                     told to me. Not once was this issue ever brought up. The only time “statute” was
                     ever mentioned in conversation was once around the time that
                     Kershenbaum/Wollaston were drafting a “letter to counsel” in June/July of 2018
                     to mention in passing conversation that “the statute for breach of contract is 4
                     years in PA.” I did not know what this meant, but 4 years seems liked a long time,
                     so I did not ask, and they offered no further information about the matter.

                     The next time the word “statute” was mentioned was in the end of January 2019
                     in a phone conversation that I had with Kershenbaum and my mother because I
                     brought it up to ask him what deadlines I might be facing. He told me that he was
                     “not aware of any statue (sic) deadlines approaching.”

Doc. 6-1 at p. 40.

                                                            -2-
23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 6 of 9




Doc. 6-1 at p 24 (emphasis supplied). Thus, by Plaintiff’s own admission, Penn State never made

any representations regarding whether she could obtain her degree. Therefore, even assuming

Plaintiff and/or her counsel were aware of the applicable statute of limitations, there is no basis for

Plaintiff to claim that she relied on this so-called statement to her detriment.3 Simply put, Plaintiff

has failed to plead or argue any facts that would support her use of equitable estoppel and,

therefore, all time-barred claims should be dismissed with prejudice.

II.      PLAINTIFF MAKES NO RESPONSE TO PENN STATE’S ARGUMENTS REGARDING COUNTS
         I-III, V, AND VII OF THE AMENDED COMPLAINT

         It was incumbent upon Plaintiff to put forth legal authority demonstrating why her causes

of action are valid. Rorrer v. Cleveland Steel Container Corp., 2012 U.S. Dist. LEXIS 5455 (E.D.

Pa. 2012), citing Miller v. Cadmus Communs., 2010 U.S. Dist. LEXIS 19283 (E.D. Pa. 2010)

(motion deemed unopposed due to opposition’s failure to offer legal discussion); Copenhaven v.

Borough of Bernville, 2003 U.S. Dist. LEXIS 1315 (E.D. Pa. January 9, 2003) (“Fully developed

legal argument, citation to legal authority, and discussion of the relevant facts aid this Court in

performing its duty, and ultimately in serving the ends of justice. Any brief in opposition or any

other memorandum of law that is lacking even a modicum of these elements is woefully

insufficient and inexcusable.”). Plaintiff offers no legal authority and her opposition merely

repeats the allegations of her Amended Complaint before baldly claiming that she “believes she

has alleged sufficient facts to constitute valid causes of action.” See Plf. Opp at p. 14. This is not

the law and is a “woefully insufficient” opposition to Penn State’s motion. Accordingly, for the




3
 Of course, this does not take into account that, by the time Plaintiff retained her prior counsel in mid-2018, the two-
year statute of limitations had already expired for claims arising from conduct that occurred in 2015 and the majority
of 2016.

                                                          -3-
23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 7 of 9




reasons set forth in the moving papers, Penn State respectfully requests dismissal of Counts I-II,

V, and VII with prejudice.

III.    PLAINTIFF HAS NOT AND CANNOT ALLEGE THE EXISTENCE OF AN IMPLIED CONTRACT
        IN THE FORM OF THE PA PROGRAM HANDBOOK

        As to Count IV, Plaintiff seemingly concedes that Penn State’s SAP Policy is not a contract,

but claims her breach of contract claim should survive because she is of the belief that the PA

Program Handbook is “at least an implied contract.” See Plf. Opp at p. 14. No case law is cited

in support of this claim. Under Pennsylvania law, an implied contract is a contract formed through

conduct in the absence of an express contract. A party may only allege the existence of both an

express contract and an implied contract if the terms of the contracts somehow differ. In the Matter

of Penn Central Transportation Company, 831 F.2d 1221 (3d Cir. 1987); see also Atlas Corp. v.

United States, 895 F.2d 745, 654 (Fed. Cir. 1990) (“The existence of an express contract precludes

the existence of an implied contract dealing with the same subject, unless the implied contract is

entirely unrelated to the express contract."). Since Plaintiff alleges that Penn State breached

express terms of the handbook – an allegation that Penn State denies – she cannot simultaneously

claim that the same written, express terms form the basis of an implied contract. See Doc. 3 at ¶¶

20; 36-40; 175.

        Moreover, regardless of whether Plaintiff is claiming the existence of an implied and/or an

express contract, her allegation that Penn State is a “public university” renders void her allegation

that the handbook is any form of contract. Carroll v. Millersville, 2019 U.S. Dist. LEXIS 96089

(E.D. Pa. June 6, 2019); Bradshaw v. The Pennsylvania State University, 2011 U.S. Dist. LEXIS

36988 (E.D. Pa. 2011). Plaintiff does not address this argument nor does she address the fact that

she has not alleged that she complied with her obligations under the handbook, a necessary element




                                                -4-
23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 8 of 9




of her claim.4 Accordingly, Plaintiff has not meaningfully opposed Penn State’s argument

regarding Count IV and this claim should be dismissed with prejudice.

IV.     PLAINTIFF CONCEDES THAT THE AMENDED COMPLAINT FAILS TO STATE CLAIMS FOR
        PUNITIVE DAMAGES, EQUITABLE DAMAGES, SPECIFIC PERFORMANCE, DECLARATORY
        JUDGMENT, AND DECLARATORY RELIEF

        Plaintiff does not address Penn State’s arguments seeking dismissal of these forms of

damages and, therefore, has conceded that dismissal is appropriate and any opportunity to amend

would be futile. See Wright v. O'Hara, 2002 U.S. Dist. LEXIS 15327, at 14, n. 7 (E.D. Pa. August

14, 2002) (“Plaintiff apparently concedes this point by failing to address this issue in his

memorandum opposing the motion to dismiss.”); Arango v. Winstead, 352 Fed. Appx. 664 (3d

Cir. 2009) (dismissing claim and refusing to grant leave to amend because plaintiff had failed to

respond when the issue was raised in a motion to dismiss).

                                                CONCLUSION

        Defendant, The Pennsylvania State University, respectfully requests that this Honorable

Court grant its motion and enter the relief set forth in the proposed form of Order.

                                                              Respectfully submitted,

                                                              WHITE AND WILLIAMS LLP


                                                     By:      s/ Geoffrey F. Sasso
                                                              Geoffrey F. Sasso (PA ID 202936)
                                                              1650 Market Street
                                                              One Liberty Place, Suite 1800
                                                              Philadelphia, PA 19103-7395
                                                              215-864-6245
                                                              Attorneys for Defendant,
                                                              The Pennsylvania State University
Dated: January 6, 2020


4
 Penn State refers this Court to the facts contained in its pending Motion to Compel. By way of review, Plaintiff was
dismissed from the PA Program in May 2018 after she failed to timely submit her final assignments, an action that
was a breach of both the PA Program Handbook and the letter agreement Plaintiff signed in December 2017.

                                                        -5-
23952182v.1
              Case 1:20-cv-00961-YK Document 20 Filed 01/06/20 Page 9 of 9




                               CERTIFICATION OF SERVICE

        I, Geoffrey F. Sasso, hereby certify that, on this day, I served the following individuals

with a true and correct copy of Defendant, The Pennsylvania State University’s Memorandum of

Law in Reply to Plaintiff, Daran Cohn’s Opposition to the Motion to Dismiss via electronic mail

and the ECF filing system:

                                     Daran Cohn, pro se
                                      5653 Como Circle
                                   Woodland Hills, CA 91367

                                                    Respectfully submitted,

                                                    WHITE AND WILLIAMS LLP


                                             By:    s/ Geoffrey F. Sasso
                                                    Geoffrey F. Sasso (PA ID 202936)
                                                    1650 Market Street
                                                    One Liberty Place, Suite 1800
                                                    Philadelphia, PA 19103-7395
                                                    215-864-6245
                                                    Attorneys for Defendant,
                                                    The Pennsylvania State University

Dated: January 6, 2020




23952182v.1
